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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:09-cr-00257
                                    )
v.                                  )                 Honorable Janet T. Neff
                                    )
MATTHEW LIPSEY,                     )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

                 Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on November 23, 2009, after receiving the written consent of defendant and all counsel. There

is no written plea agreement. At the hearing, defendant Matthew Lipsey entered a plea of guilty to

Count 1 of the Indictment charging defendant with conspiracy to distribute and possess with intent

to distribute heroin in violation of 21 U.S.C. §§ 846 and 841(a)(1). On the basis of the record made

at the hearing, I find that defendant is fully capable and competent to enter an informed plea; that

the plea is made knowingly and with full understanding of each of the rights waived by defendant;

that it is made voluntarily and free from any force, threats, or promises; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a sufficient

basis in fact.
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               I therefore recommend that defendant's plea of guilty to Count 1 of the Indictment

be accepted, and that the court adjudicate defendant guilty. Acceptance of the plea, adjudication of

guilt, and imposition of sentence are specifically reserved for the district judge.



Date: November 24, 2009                                /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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